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                              UNITED STATE DISTRICT COURT
                                   DISTRICT OF MAINE


BRYAN REPETTO,                                         )
                                                       )
                       Plaintiff                       )
                                                       )
       v.                                              )       Civil Action No. 08-CV-101
                                                       )
ST. MATTHEW’S UNIVERSITY, INC.                         )
                                                       )
                       Defendant                       )

   MOTION TO AMEND COMPLAINT TO JOIN PARTY, WITH INCORPORATED
                     MEMORANDUM OF LAW

       Pursuant to the amended Scheduling Order issued by the Court in the above-captioned

matter, Plaintiff Bryan Repetto moves this Court to allow him to amend his complaint in the

form attached to join an additional party-Defendant, St. Matthew’s University (Cayman) Ltd.

The grounds for this motion are as follows:

   1. On August 11, 2008, Plaintiff received Defendant’s Answers to Interrogatories.

   2. In Defendant’s answers, it identified St. Matthew’s University (Cayman) Ltd. as a

       subsidiary entity to it, and stated that it was that entity with which Plaintiff interacted

       during the course of his studies at St. Matthew’s University. In addition, in its Answer to

       Plaintiff’s Complaint, Defendant affirmatively alleged that a subsidiary of it owned and

       operated the school.

   3. Based on discovery to date, it appears to Plaintiff that both Defendant and St. Matthew’s

       University (Cayman) Ltd. may be involved in the ownership and operation of the school.

   4. Addition of St. Matthew’s University (Cayman) Ltd. as a Defendant is necessary to

       ensure a full and fair resolution of this matter, and to ensure that complete relief can be

       afforded to the parties. In his amended complaint, Plaintiff seeks relief against both St.
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       Matthew’s University (Cayman) Ltd. and Defendant for the same claims, arising out of

       the same facts. Accordingly, joinder is proper persuant to Rules 19 and 20 of the Federal

       Rules of Civil Procedure.

   5. In his amended complaint, Plaintiff also has withdrawn his claim for return of his housing

       deposit, since the parties have resolved that claim via settlement.

   6. This amendment is timely, persuant to the revised Scheduling Order issued by the Court.

   7. Defendant will not be unduly harmed by the relief requested in this motion. The addition

       of St. Matthew’s University (Cayman) Ltd. is based on Defendant’s representation that it

       is that entity with which Plaintiff dealth. Moreover, St. Matthew’s University (Cayman)

       Ltd. is a subsidiary of Defendant.

   8. Undersigned counsel has been unable to reach counsel for Defendant to determine

       whether it has any objection to the relief requested in this motion.

       WHEREFORE, Plaintiff Bryan Repetto respectfully requests that the Court grant his

Motion to Amend his Complaint, in the form attached.


Dated: August 15, 2008


                                                     /s/ Barbara L. Goodwin
                                                     Counsel for Plaintiff Bryan Repetto

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                              CERTIFICATE OF SERVICE

       I hereby certify that on August 15, 2008, I electronically filed the following

document(s):

      1) PLAINTIFF’S MOTION TO AMEND COMPLAINT TO JOIN PARTY,
          WITH INCORPORATED MEMORANDUM OF LAW

with the Clerk of Court using the CM/ECF system which will send notification of such

filing(s) to the following:

               GAIL CORNWALL, ESQ. – gcornwall@eapdlaw.com


and I hereby certify that on August 15, 2008, I mailed by U.S. Postal Service, the

document(s) to the following non-registered participants:

               None.


                                                 /s/ Barbara L. Goodwin
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                                                 Portland, ME 04104-5085
                                                 (207) 773-5651
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